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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION

 DR. MAHENDRA AMIN, M.D.,

                Plaintiff,                           CIVIL ACTION        NO.:    5:21-CV-00056-
                                                     LGW-BWC

        v.

 NBCUNIVERSAL MEDIA, LLC,

                Defendant.

                             DECLARATION OF STACEY G. EVANS

       1.      My name is Stacey G. Evans and I am an attorney and Partner at Stacey Evans

Law, located at 4200 Northside Pkwy. NW, Suite 200, Atlanta, Georgia 30327. I am an attorney

of record for the Plaintiff, Dr. Mahendra Amin, in this action.

       2.      Counsel for NBCUniversal and I agreed via email that NBCUniversal could

identify rebuttal experts by September 19, 2023, and that Dr. Amin could identify reply experts

by October 3, 2023.

       3.      Counsel for NBCUniversal and I agreed to extend the deadline for errata for Dr.

Carey’s deposition until December 22, 2023.

       4.      Attached as Exhibit 2 is a true and correct copy of Plaintiff’s Service of Expert

Witness Reports, September 5, 2023. It has been redacted to remove personal health

information.

       5.      Attached as Exhibit 3 is a true and correct copy of Defendant’s Rebuttal Expert

Witness Reports, September 19, 2023. It has been redacted to remove personal health

information.




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       6.      Attached as Exhibit 4 is a true and correct copy of Plaintiff’s Service of Expert

Witness Reply Reports, October 3, 2023.

       7.      Attached as Exhibit 5 is a true and correct copy of Deposition of Dr. Ted

Anderson, December 1, 2023. Dr. Anderson testified regarding patients’ personal health

information, and his deposition remains Confidential pursuant to the protective order in this case,

which provides that entire depositions be Confidential until the witness has the opportunity to

review the deposition and designate portions Confidential, Doc. 42, and accordingly I will move

contemporaneously with this motion to file the deposition under seal. Further, the deadline for

errata for Dr. Anderson has not yet occurred.

       8.      Attached as Exhibit 6 is a true and correct copy of Deposition of Dr. Erin Carey,

October 26, 2023. Dr. Carey testified regarding patients’ personal health information, and her

deposition remains Confidential pursuant to the protective order in this case, which provides that

entire depositions be Confidential until the witness has the opportunity to review the deposition

and designate portions Confidential, Doc. 42, and accordingly I will move contemporaneously

with this motion to file the deposition under seal.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed in Atlanta, Georgia on December 19, 2023.



                                                By: Stacey G. Evans
                                                    Stacey G. Evans




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